~ Case 1:06-cv-22833-WMH Document1 Entered on FLSD Docket 11/21/2006 Page 1 of 32

IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

 

 

MIAMI DIVISION |
ANTONIO P. VIDAL, ) |
Petitioner, )
Vs. ) CAY- HOEVELER
)
Alberto R. Gonzalez, Attorney General of the United __) ee CISTRATE JUDGE
States, Michael Chertoff, Secretary of the Department) BROWN ~
of Homeland Security (DHS), Robert Divine, Acting )
Director, United States Citizenship Immigration )
Services (USCIS), Andrea J. Quarantillo, District )
Director, USCIS, Miami, Florida, ) 3
Defendants. ) ce
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Petition for Hearing on Naturalization Application A

Pursuant to 8 U.S.C. §1447(b) o

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COMES NOW ANTONIO P. VIDAL, hereinafter the “Petitioner,” in theabove

 

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captioned case, by and through the undersigned counsel, and respectfully petitions this Honorable
Court for a hearing on the Petitioner’s naturalization application pursuant to Section 336(b) of the
Immigration and Nationality Act, 8 U.S.C. §1447(b). In support of same suit, the Petitioner
hereby submits the following.

This is an action seeking expeditious adjudication of the Petitioner’s naturalization
application by this Honorable Court.

Jurisdiction

This Honorable Court possesses jurisdiction over this petition pursuant to 8 U.S.C.

§1447(b).
Venue

Venue is proper in the United States District Court, Southern District of Florida for the

petitioner is seeking adjudication of his naturalization application “in the United States District

Court for the District in which the applicant resides.” 8 U.S.C. $1447(b).

Page 1
~ Case 1:06-cv-22833-WMH Document 1 Entered on FLSD Docket 11/21/2006 Page 2 of 32

The Parties

Petitioner Antonio P. Vidal,

The Petitioner is a naturalization applicant whose naturalization application the United
States Citizenship and Immigration Services (“CIS”) ' has failed to adjudicate in an expeditious
manner as intended by Congress and guaranteed to the Petitioner by statute and regulation.
Defendant Alberto R. Gonzalez, Attorney General of the United States

Attorney General Alberto R. Gonzalez, is charged with interpreting and enforcing the
laws governing immigration and naturalization.
Defendant Michael Chertoff, Secretary of the Department of Homeland Security

Michael Chertoff, Secretary of the Department of Homeland Security, is charged with
administering and enforcing the laws governing immigration and naturalization.
Defendant Robert Divine, Acting Director, U.S. Citizenship Immigration Services

Robert Divine is the Acting Director of the Bureau of Citizenship and Immigration
Services for the Department of Homeland Security. Director Aguirre is in charge of overseeing
the processing of naturalization applications as well as properly administering the laws relating
to naturalization.
Defendant Andrea J. Quarantillo, District Director, U.S. Citizenship Immigration Services,
Miami, Florida

Andrea J. Quarantillo is the District Director of the Miami District Office of the
Department of Homeland Security. She is sued in his official capacity based upon his
responsibility to administer and enforce the laws relating to immigration and naturalization in the

Miami, Florida district.

 

In March of 2003, Immigration and Naturalization Service, an agency of the United States Department of
Justice, ceased to exist and was replaced by the Department of Homeland Security, United States Citizenship
and Immigration Services (“USCIS”). The USCIS assumed the responsibilities of processing naturalization
applications among other applications that may provide benefits to aliens.

Page 2
~ Case 1:06-cv-22833-WMH Document 1 Entered on FLSD Docket 11/21/2006 Page 3 of 32

Exhaustion of Administrative Remedies

For the purposes of 8 U.S.C. §1447(b), the instant suit is properly filed since more than
“120 days after the [initial] examination” have elapsed. See 8 U.S.C. § 1447(b) (2005).

Nevertheless, inquiries into the Petitioner’s naturalization application have been made
thereby allowing the USCIS sufficient time to issue a final determination upon the Petitioner’s
naturalization application.

Underlying Facts and Procedural History of the Case
Petitioner Antonio P. Vidal

Antonio P. Vidal (Alien No. 28-929-557) is a fifty-seven (57) year old male native and
citizen of Cuba who obtained lawful permanent resident status on December 1, 1990. Exhibit A.

On June 24, 2003, Mr. Vidal filed an INS Form N-400, Application for Naturalization,
for which he was subsequently scheduled for an examination. Exhibit B

On June 8, 2004, Mr. Vidal attended his naturalization examination interview, and was
informed that he had passed the English, U.S. History, and government tests. The Interview
Results Sheet also Congratulated Mr. Vidal, informing him “[y]our application has been
recommended for approval.” The CIS failed to make a determination on Mr. Vidal’s application
at that time. Exhibit C.

On October 14, 2004, and on November 25, 2004, Mr. Vidal received from the CIS,
responses to his inquiries as to the status of his application for Naturalization and was informed
that his naturalization application was “[p]ending completion of security checks.” Exhibit D.

On January 3, 2005, the White House, Special Assistant to the President, Heidi Marquez,
submitted Mr. Vidal’s inquiry to the Dept. of Homeland Security. The response indicated that
“[o]ne of your security checks is pending clearance.” Exhibit E.

On December 8, 2004, Congresswoman, Ileana Ros-Lehtinen made an inquiry on behalf
of Mr. Vidal to the Federal Bureau of Investigation in order to expedite the clearance. Exhibit F.

On February 7, 2005, March 1, 2005, March 29, 2005, May 24, 2005, March 7, 2006,
May 4, 2006, and May, 16, 2006, more inquiries and communications as to the status of Mr.
Vidal’s Application for Naturalization were made, all to no avail. Exhibit G.

Mr. Vidal is a journalist at WWFE, La Poderosa, in Miami, and as part of his job, he
travels out of the country frequently. He successfully passed his naturalization exam on June 8,

2004, and not being a United States citizen makes his travel arrangements very difficult.

Page 3
~ Case 1:06-cv-22833-WMH Document 1 Entered on FLSD Docket 11/21/2006 Page 4 of 32

It has been almost two and a half years since Mr. Vidal passed his naturalization exam and
moreover, Mr. Vidal lacks any derogatory whatsoever against his person that would adversely
affect his statutory eligibility for naturalization.

Because Mr. Vidal, Congresswoman, Ros-Lehtinen, and even the White house’s inquiries
have failed to produce a decision upon his naturalization application “[b]efore the end of the
120-day period,” Mr. Vidal petitions this Honorable Court to adjudicate his application for
naturalization pursuant to 8 U.S.C. §1447(b).

Argument and Memorandum of Law in Support of Petition for Review

USCIS has failed to issue a decision upon the Petitioner’s naturalization application
“before the end of the 120-day period.” 8 U.S.C. §1447(b) (2005).

The Petitioner is therefore entitled to seek judicial review of his naturalization application
in this Honorable Court.

8 U.S.C. §1447(b) titled “Request for hearing before district court” provides:

If there is a failure to make a determination under section 1446 of this title before
the end of the 120-day period after the date on which the examination is
conducted under such section, the applicant may apply to the United States
district court for the district in which the applicant resides for a hearing on the
matter. Such court has jurisdiction over the matter and may either determine the
matter or remand the matter, with appropriate instructions, to the Service to
determine the matter.

The “examination” referred to in section 1447(b) is the “first examination.”

8 C.F.R. §336.1(a) (2005) provides:

(a) After completing all examination procedures contained in part 335 of this

chapter and determining to deny an application for naturalization, the Service shall

serve a written notice of denial upon an applicant for naturalization no later than

120 days after the date of the applicant’s first examination on the application.

(emphasis added).

Regulation promulgated by the Attorney General mandates CIS employees to process the
Petitioner’s naturalization applications in an expeditious manner.

“Where the rights of individuals are affected, it is incumbent upon agencies to follow

their own procedures.” Morton v. Ruiz, 415 US 199, 235 (1974) See also Accardi v. Saughnessy,
347 US. 260 (1954); Yellin v. U.S., 374 U.S. 109 (1963) (decisions of an agency made in

Page 4
~ Case 1:06-cv-22833-WMH Document 1 Entered on FLSD Docket 11/21/2006 Page 5 of 32

violation of its own procedures are reversible even in the absence of a due process violation since
agencies must obey their own rules). 2

The Petitioner possesses standing for the petitioner possesses a ‘personal stake and [an]
interest that imparts the concrete adverseness required by Article III’”. Petition of Cardines, 366
F.Supp. 700, 709 (Dist.Ct. Guam1973); citing Association of Data Processing Services v. Camp,
397 U.S. 150, 152 (1970); Barlow v. Collins, 397 U.S.159, 164 (1970).

The Administrative Procedures Act also provides this Honorable Court with jurisdiction
to “compel agency action unlawfully withheld or unreasonably delayed.” 5 U.S.C. §706(1). See
8 U.S.C. §1421(c) (2005) (review of naturalization application before district court to be in
accordance with chapter 7 of title 5).

The enactment of 8 U.S.C. §1447(b) by Congress was to reduce the waiting time for
naturalization applicants. See H.R. Rep. No. 101-187, at 8 (1989); 135 Cong. Rec. H4539-02,
H4542 (1989) (statement of Rep. Morrison). See United States v. Hovsepian, 359 F.3d 1144,
1163 (9th Cir. 2004) (en banc).

It should also be noted that upon the filing of the instant petition for review, the CIS loses
Jurisdiction over the Petitioner’s naturalization application. id. Hovsepian at 1163.

In Hovsepian, the applicant filed for judicial review under 8 U.S.C. § 1447(b) after the
legacy INS failed to decide his application within 120 days of the initial examination. While the
case was pending at the district court, the legacy INS denied the naturalization application.

The district court determined that the legacy INS no longer had jurisdiction over the case,
and the court thus disregarded the legacy INS decision and instead proceeded to approve the
naturalization application. On appeal by the legacy INS, the Ninth Circuit found that the district
court was correct in asserting exclusive jurisdiction. In reaching this conclusion, the Ninth
Circuit considered the plain language of § 1447(b), the larger statutory context, and Congress’

policy objectives.

 

2 In reversing Accardi and Yellin, the Supreme Court relied on the rule of administrative law for INS’s
violations of their regulations rather than the due process clause. Petitioner may be granted relief solely on the
basis of INS’s violating their own regulations. Gonzalez v. Reno, 212 F.3d 1338 C11" Cir. 2000) (executive
agencies must comply with the procedural requirements imposed by statute); Cuesta v. U.S., 230 F.2d 704 (5
Cir. 1956) (INS regulations are binding and have effect of law); Waldron vy. INS, 17 F.3d 511, 517-18 (2™ Cir,
1993) cert. denied, 513 U.S. 1014 (1994); Mendez v. INS, 563 F.2d 956, 959 9" Cir.1977); Montilla v. INS,
926 F.2d 162, 167-70 (2 Cir.1991); and Chlomos v. U.S. D.O.J., 516 F.2d 310, 313-14 (3 Cir.1977). Suh v.
INS, 592 F.2d 230, 231 (5" Cir. 1979), vacated on other grounds 646 F.2d 909 (Fifth Circuit Court of Appeals
does not look with favor upon INS’s violating its own regulations).

Page 5
~ Case 1:06-cv-22833-WMH Document 1 Entered on FLSD Docket 11/21/2006 Page 6 of 32

8 U.S.C. §1447(b) (2005) provides in relevant part:

[the district] court has jurisdiction over the matter and may either determine the
matter or remand the matter, with appropriate instructions, to the Service to
determine the matter.

The Ninth Circuit Court of Appeals rejected CIS’ argument that CIS retains concurrent
jurisdiction over an application for naturalization once a petition for review has been filed.

The Ninth Circuit held that, once suit was filed under 8 U.S.C. §1447(b), the district court
assumed exclusive jurisdiction over the naturalization application, and CIS lost the authority to
decide the case. id. Hovsepian.

The sponsors of the legislation intended to give naturalization applicants the power to
choose which forum would adjudicate their applications. As the representative who introduced
the proposed statute on the House floor noted, “in this legislation, it is the applicant, not the
government, who decides the place, setting, and timeframe in which the application will be
processed.” 135 Cong. Rec. H4539-02, H4542 (statement of Rep. Morrison) (emphasis added).
id. Hovsepian at 1164. Allowing the USCIS to continue to exercise jurisdiction over an
application even after the naturalization applicant has elected to have the district court decide the
application would frustrate the sponsors’ intent. id.

In light of the statutory language, congressional intent is to allow the district court to
adjudicate a naturalization application once a petition for review has been filed.

The Petitioner possesses all of the statutory prerequisites to be eligible for naturalization
under Pub. L. 101-649. See 8 U.S.C. §1427 (2005). However, due to the continued delay of the
USCIS in adjudicating his application for naturalization, the Petitioner is being prevented from
being admitted to citizenship (8 U.S.C. §1448(a) (2005) and therefore from enjoying the status of

naturalized citizen of the United States.

SUMMARY
CIS employees’ failure to process the Petitioner’s naturalization application in an
expeditious manner runs contrary to congressional intent as contained in 8 U.S.C. §1447(b) and

regulation promulgated by the Attorney General and therefore operates to procedurally bar the

Page 6
~ Case 1:06-cv-22833-WMH Document 1 Entered on FLSD Docket 11/21/2006 Page 7 of 32

Petitioner from being naturalized in an expedient manner especially when the Petitioner is
statutorily eligible to do so.

Due to the continued delay of the CIS employees’ to process the Petitioner’ s
naturalization application in an expeditious manner consistent with statute and promulgated
regulation, the Petitioner possesses standing and is entitled to have this Honorable Court decide
the Petitioner’s naturalization application de novo including any other remedy that this

Honorable Court may deem as just and proper.

Page 7
~ Case 1:06-cv-22833-WMH Document 1 Entered on FLSD Docket 11/21/2006 Page 8 of 32

CONCLUSION

WHEREFORE, for the foregoing reasons, the Petitioner respectfully requests that this
Honorable Court GRANT the instant Petition for Hearing on the Petitioner’s Naturalization
Application; adjudicate the Petitioner’s naturalization application including any other relief this
Honorable Court may GRANT the Petitioner under the immigration laws of the United States of
America; or, in the alternative, find on the record that the Petitioner is statutorily eligible to
naturalize and therefore ORDER the Miami, Florida CIS Naturalization Office to favorably
adjudicate the Petitioner’s naturalization application and schedule the Petitioner for a

naturalization ceremony as soon as may be practicable.

Respedtflly submitted,

   

Nfizfoe

uardo Soto, Esq. Florida bar #0858609 Date
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Coral Gables, Florida 33134

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Page 8
“.Case 1:06-cv-22833-WMH Document 1 Entered on FLSD Docket 11/21/2006 Page 9 of 32

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Receipt July 01, 2003
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APPLICANT NAME AND MAILING ADDRESS P AYMENT INFORM. ATI .
ANTONIO F VIDAL ON
2233 SW 7 ST Single Application Fee: $310.00
MIAMI FL 33135 Total Amount Received: $310,00
Total Balance Due: $0,00

The above application has been received by our office and is in process, ‘Our records indicate your personal information is as ~”
follows; a

Date of Birth: January 15, 1949
Address Where You Live: 2233 SW 7ST
MIAMI FL 33135

Please verify your personal information listed above and immediately notify ‘our office at the address ot phone number listed | |
below if there are any changes. os

You will be notified of the date and place of your interview when you have been scheduled by the local INS office, You should
expect to be notified within 730 days of this notice.

 

 

 

If you have any questions ot comments tegarding this notice or the status of your case, please contact our office at the below address or customer service
number. You will be notified separately about any other cases you may have filed.

If you have other questions sbout possible immigration benefita and services, filing information, or INS forms, please call the INS National Customer Service
Center (NCSC) at 1-800-375-5283. Ifyou are hearing impaired, please call the NCSC TDD at 1-800-767-1833,

Ifyou have access to the Intemet, you can also visit INS at www.ing.uadoj.gov. Here you can find valuable information ebout forms and filing instructions,
and about general immigration services and benefits. At present, thia site does not provide case status information.

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You passed the tests of English and U.S. history and government.
Ci You passed the test of U.S. history and government and the English language requirement was
waived. ,
C} The Service has accepted your request for a Disability Exception. You are exempted from the
requirement to demonstrate English language ability and/or a knowledge of U.S. history and

government.
C} You will be given another opportunity to be tested on your ability tos speak / read /
/ write English.
[} You will be given another opportunity to be tested on your knowledge of U.S. history and
government.

Please follow the instructions on the Form N-14.
INS will send you a written decision about your application.

OQ

[3° You did not passe second and final test of your English ability / knowledge of
U.S. history government. You will not be rescheduled for another interview for this N-400.
INS will send you a written decision about your application.

A) b- “ Congratulations! Your application has been recommended for approval. At this
time, it appears that you have established your eligibility for naturalization. If final approval-is granted,
you will be notified when and where to report for the Oath Ceremony.

B) A decision cannot yet be made about your application.

It is very important that you:
Notify INS if you change your address.
Come to any scheduled interview.
Submit all requested documents.
Send any questions about this application in writing to the officer named above. Include your full
name, A-number, and a copy of this paper.
Go to any oath ceremony that you are scheduled to attend.
Notify INS as soon as possible in writing if you cannot come to any scheduled interview or oath
ceremony. Include a copy of this paper and a copy of the scheduling notice.

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Case 1:06-cv-22833-WMH Document 1 Entered on FLSD Docket 11/21/2006 Page 16 of 32

 

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* Case 1:06-cv-22833-WMH Document 1 Entered on FLSD Docket 11/21/2006 Page 17 of 32

 

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“EXHIBIT E”
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Case 1:06-cv-22833-WMH Document 1 Entered on FLSD Docket 11/21/2006 Page 21 of 32

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CUSTOMER SERVICE CENTER

STATUS INQUIRY / RESOLUTION WORKSHEET

Date: of /2Y fos” Inquiry received by: MVE

Alien Registration Number: A. ot & 72-9 5S 7
Applicant's Name: _. An fino p Vip :
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BUREAU OF
CITIZENSHIP AND
IMMIGRATION
SERVICES

U.S. Department of Homeland Security

 

 

 

Citizenship Center
ANTONIO VIDAL 77 SE 5 Street
1527 SW 131 AVE Miami, FL 33131

MIAMI FL 33184
Citizenship Inquiry Response

 

Inquiry No.: 121342 Researched by: H. Trujillo
Applicant: ANTONIO VIDAL
. A028-929-557

. N-400
Source of Inquiry: MAIL
Requestor: ANTONIO VIDAL

Date Inquiry Received: March 7, 2006
Date of Response: March 8, 2006

Alien Registration Number:

Application

Response Via: MAIL
Application Status: Pending a Final Decision

The application is pending completion of security checks. We regret the delay and ask for your
patience until a final decision can be issued for this case.

Changing your address? Call the National Customer Service Center at 1-800-375-5283 Mon-Fri, 8am to 6pm
Visit the Bureau of Citizenship and Immigration Services Website: www.immigration.gov

 
« Case 1:06-cv-22833-WMH Document 1 Entered on FLSD Docket 11/21/2006 Page 29 of 32

ww

U.S. Department of Homeland Security
7880 Biscayne Boulevard
Miami, FL 33138

WS, Citizenship
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Services

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Conf #MAIL 2006-2 ¥f2.

Re ADE JAP? SSV
AV7T0v10 PL dAK

In reply to your letter/inquiry dated Z 3-3F 76 see the appropriate response below
marked “X”:

Dear Sir/Madam:

This case is pending scheduling and will be scheduled based on the date of filing. We are
currently scheduling the oldest cases, which were filed prior to October 2003 and should be
scheduled within the next 60 days. Then, cases filed in 2004 will be scheduled and so on. Your
inquiry has been forwarded to the unit responsible for scheduling the case.

This letter/inquiry has been forwarded to where this case is presently located
for processing. Please forward all future correspondence to that office regarding this case. Please
check see our website at www.uscis.gov for service center and office locations.

This case is pending background clearance and will be returned to regular adjudication
processing once it has cleared.

The case has been forwarded to the WSC (California Service Center). They are assisting us
(backlog reduction) in the processing of these applications. Please wait 180 days from the receipt
date of your application to the CSC before you inquire about this case.

Other:

Sincerely,

(17) sonal Unit

Miasat District Office

    

www.dhs.gov
«Case 1:06-cv-22833-WMH Document 1 Entered on FLSD Docket 11/21/2006 Page 30 of 32

MARIO DIAZ-BALART , 313 CANNON House OFFICE BUILDING

251H" District, FLORIDA wy” WASHINGTON, DC 20515
(202) 225-2778

BUDGET COMMITTEE Fax: (202) 226-0346

wurde tmencrune Sondre Congress of the Anited States DISTRICT OFFICES:

12851 S.W. 42ND STREET
Suite 131

House of Representatives Miavon EL 33175

(305) 225-6866
Fax: (305) 225-7432

Elashington, DC 20515-0925 4715 GOLDEN GATE PARKWAY

Suite ONE
Napces, FL 34116
(239) 348-1620
Fax: (239) 348-3569

May 4, 2006

Mr. Antonio Vidal
1527 Southwest 131st Avenue
Miami, Florida 33184

Dear Mr. Vidal:

Your letter to the Honorable Lincoln Diaz-Balart was referred to my office as your
Representative in Congress.

I will be glad to assist you with your immigration case; however, before my office can take any
action we will need your signed authorization. For your convenience, I have enclosed an
authorization form for you to complete and return to my Miami District Office. Please print and
include a copy of any document you received from the immigration office and proof of current
home address.

As soon as my office receives the signed form, we will be able to contact the appropriate
officials on your behalf. If you have any questions, please feel free to contact my Assistant,
Gladys Llanes at (305) 225-6866, who is handling this matter for me.

Sincerely,

 

www. house.gov/mariodiaz-balart
@ Case 1:06-cv-22833-WMH Document 1 Entered on FLSD Docket 11/21/2006 Page 31 of 32

A ew

 

U.S. Department of Justice
Immigration and Naturalization Service
Citizenship Center

77 SE 5 Street
Miami, FL 33131

 

ANTONIO P VIDAL
1527 SW 131 AVE
MIAMI FL 33184

| Naturalization Inquiry Response |

Inquiry No.:

Applicant:
Alien Registration Number:

Application:
Source of Inquiry:
Requestor:

Date Inquiry Received:

Date of Response:
Application Status:

117492 Researched by: H. TRUJILLO

ANTONIO P VIDAL
A02-892-9557

N-400

MAIL

ANTONIO P VIDAL

April 20, 2006

May 16, 2006

Pending a Final Decision

The application is pending completion of security checks. We regret the delay and
ask for your patience until a final decision can be issued for this case.

 
Case 1:06-cv-22833-WMH Document 1 Entered on FLSD Docket 11/21/2006 Page 32 of 32

CIVIL COVER SHEET Foe aa

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other — as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of Initiating
{SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

 

JS 44 (Rev. 11/04)

the civil docket sheet.
I. (a) PLAINTIFFS
ANTONIO P. VIDAL

 

DEFENDANTS
U.S. Attorney Gonzalez, USCIS Director Michael Chertoff, et al

County of Residence of First Listed Defendant Dade
(IN U.S. PLAINTIFF CASES ONLY)

(b) County of Residence of First Listed Plaintiff Dade
(EXCEPT IN U.S. PLAINTIFF CASES)

 

 

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF THE
(c) Attorney’s (Firm Name, Address, and Telephone Number) TRACT OF LAND INVOLVED.
Eduardo Soto, Esq. Attomeys (If Known)

999 Ponce De Leon Boulevard, Suite 940
Coral Gables, Florida 33134

 

Office of the U.S. Attorne R
99 N.E. 4th Street
Miami. Florida 33138 oD

(d) Check County Where Action Arose: DADE OMONROE OBROWARD CPALMBEACH OMARTIN OST. LUCIE CINDIAN wp gion ss
Il. BASIS OF JURISDICTION III. CITIZENSHIP OF PRINCIPAL PARTTES piace Sih One Box for Plaintiff

 

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(For Diversity Cases Only) and One Box for Defendant)

a1 U.S. Government O3 ‘Federal Question PTF DEF PTF DEF

Plaintiff (U.S. Government Not a Party) Citizen of This State oat 1 1 Incorporated or Principal Pact o4 4
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2 US. Government 4 Diversity Citizen of Another State 02 02 Incorporated iT Principal Place 5 15
Defendant (Indicate Citizenship of Parties in Item III) of BusineSS lAnother St State:

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IV. NATURE OF SUIT “Place an “X” in One Box Only) _ .
CONTRACT. TORTS *_ | FORFEITURE/PENALTY BANKRUPTCY = 0 THER STATUTES ]
O 110 Insurance PERSONAL INJURY PERSONAL INJURY [0 610 Agriculture O 422 Appeal 28 USC 158 x +0. 400 State Reapportionment
120 Marine O 310 Airplane = 362 Personal Injury - O 620 Other Food & Drug 423 Withdrawal <= | .-410 Antitrust
& 130 Miller Act O 315 Airplane Product Med. Malpractice 1 625 Dmg Related Seizure 28 USC 157 > Pk 430 Bauk3 and Banking
140 Negotiable Instrument Liability 365 Personal Injury - of Property 21 USC 881 T4450 Cagimerce
C150 Recovery of Overpayment | {J 320 Assault, Libel & Product Liability 630 Liquor Laws PROPERTY RIGHTS G 460 Deportation
& Enforcement of Judgment Slander C368 Asbestos Personal O 640R.R. & Truck 820 Copyrights ‘ 1 470 Racketeer Influenced and
CJ 151 Medicare Act © 330 Federal Employers’ Injury Product 1 650 Airline Regs. © 830 Patent Corrupt Organizations
152 Recovery of Defaulted Liability Liability [1 660 Occupational O 840 Trademark © 480 Consumer Credit
Student Loans 340 Marine PERSONAL PROPERTY Safety/Health 490 Cable/Sat TV
(Excl. Veterans) O 345 Marine Product O 370 Other Fraud 0 690 Other 1 810 Selective Service
© 153 Recovery of Overpayment Liability > 371 Truth in Lending LABOR SOCIAL SECURITY. O 850 Securities/Commodities/
of Veteran’s Benefits 0 350 Motor Vehicle (J 380 Other Personal 0 710 Fair Labor Standards O 86! HIA (1395ff) Exchange
© 160 Stockholders’ Suits O 355 Motor Vehicle Property Damage Act C1 862 Black Lung (923) 875 Customer Challenge
190 Other Contract Product Liability 0 385 Property Damage O 720 Labor/Mgmt. Relations | 863 DIWC/DIWW (405(g)) 12 USC 3410
CF} 195 Contract Product Liability | 360 Other Personal Product Liability 1 730 Labor/Mgmt.Reporting |( 864 SSID Title XVI §& 890 Other Statutory Actions
(9196 Franchise Injury & Disclosure Act C865 RSI (405(g)) 89} Agricultural Acts
L REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS [1 740 Railway Labor Act FEDERAL TAX SUITS 0 892 Economic Stabilization Act
[7 210 Land Condemnation O 441 Voting 510 Motions to Vacate © 790 Other Labor Litigation | 870 Taxes (U.S. Plaintiff O 893 Environmental Matters
( 220 Foreclosure © 442 Employment Sentence C1 791 Empl. Ret. Inc. or Defendant) O 894 Energy Allocation Act
230 Rent Lease & Ejectment © 443 Housing/ Habeas Corpus: Security Act O 871] IRS—Third Party 895 Freedom of Information
CO 240 Torts to Land Accommodations O 530 General 26 USC 7609 Act
© 245 Tort Product Liability O 444 Welfare 535 Death Penalty O 900Appeal of Fee Determination
© 290 All Other Real Property OO 445 Amer. w/Disabilities - | 540 Mandamus & Other Under Equal Access
Employment O 550 Civil Rights to Justice
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Other State Statutes
440 Other Civil Rights

 

 

 

 

 

 

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Proceeding State Court Appellate Court Reopened (specify) Litigation Judgment

 

(Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless diversity):

VI. CAUSE OF ACTION | 8 U.S.C. Section 1447(b) - Naturalization Applicant entitled to judicial hearing on naturalization application.

 

LENGTH OF TRIAL via days estimated (for both sides to try entire case)

C] CHECK IF THIS IS A CLASS ACTION DEMAND § CHECK YES only if demanded in complaint:

VU. REQUESTED IN

 

 

 

 

COMPLAINT: UNDER F.R.C_P. 23 JURY DEMAND: Yes INo
VIII. RELATED CASE(S) a
IF ANY (See instructions): UDGE DOCKET NUMBER
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